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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

DEBRA HARRIS,

       Plaintiff,                                            Case No. 8:19-cv-762

v.

MIDLAND CREDIT MANAGEMENT, INC.,

      Defendants.
________________________________________/

                                          COMPLAINT

       The Plaintiff, Debra Harris (“Plaintiff”), hereby sues the Defendant, Midland Credit

Management, Inc. (“Midland”), and alleges:

                                 Parties, Jurisdiction and Venue

       1.      Plaintiff is an individual and a resident of Pinellas County, Florida.

       2.      Midland is a foreign corporation with its principal place of business in San Diego,

California.

       3.      This is an action brought pursuant to 15 U.S.C. 1692k. Accordingly, this Court

has jurisdiction over this action under 28 U.S.C. § 1331 because this is a civil action arising

under the laws of the United States.

       4.      This Court has supplemental jurisdiction over the state law claim in this action

under 28 U.S.C. § 1367 because the state law claim is so related to the claim over which this

Court has original jurisdiction that they form part of the same case or controversy under Article

III of the U.S. Constitution.
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          5.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims asserted herein occurred in

this district.

          6.     All conditions precedent to bringing this action have occurred, been performed, or

have been waived.

                                           Common Facts

          7.     Midland called the Plaintiff 7-8 times per day for more than a month in an attempt

to collect a debt that Plaintiff incurred for personal purposes.

          8.     In conversations with Midland, Plaintiff repeatedly demanded that Midland cease

calling her, but Midland continued to call her.

          9.     In numerous instances, Midland called Plaintiff 7-8 times in a matter of minutes.

          10.    Midland directed the above-described phone calls to Plaintiff in the Middle

District of Florida, and Plaintiff received the calls in the Middle District of Florida.

    COUNT I – VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

          11.    Plaintiff incorporates and realleges paragraphs 1 through 10 as if stated fully

herein.

          12.    The Midland constituted a violation of 15 U.S.C. § 1692d.

          13.    As a direct and proximate result of the wrongful conduct of Midland, Plaintiff has

suffered actual damages, including mental anguish, embarrassment, loss of time, and financial

harm.

          WHEREFORE, the Plaintiff, Debra Harris, hereby demands judgment against the

Defendant, Midland Credit Management, Inc., for actual damages, statutory damages in the




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amount of $1,000.00, court costs, reasonable attorney’s fees, injunctive relief, and any other

further relief this Court deems just and proper.

                           COUNT II – VIOLATION OF THE
                  FLORIDA CONSUMER COLLECTION PRACTICES ACT

          14.    Plaintiff incorporates and realleges paragraphs 1 through 10 as if stated fully

herein.

          15.    The conduct of Midland constituted a violation of Section 559.72(7), Florida

Statutes.

          16.    As a direct and proximate result of the conduct of Midland, Plaintiff has suffered

actual damages, including mental anguish, embarrassment, loss of time, and financial harm.

          WHEREFORE, the Plaintiff, Debra Harris, hereby demands judgment against the

Defendant, Midland Credit Management, Inc., for actual damages, statutory damages in the

amount of $1,000.00, court costs, reasonable attorney’s fees, injunctive relief, and any other

further relief this Court deems just and proper.

                                Demand for Attorney’s Fees & Costs

          Pursuant to 15 U.S.C. § 1692k(a)(3) and Section 559.77(2), Florida Statutes, Plaintiff

Debra Harris hereby demands an award of the attorney’s fees and costs incurred in this matter.

                                       Demand for Jury Trial

          Plaintiff Debra Harris hereby demands a jury trial on all claims asserted in this Complaint

and otherwise later asserted in this lawsuit.

DATED: March 28, 2019.                           Respectfully submitted,


                                                 /s/ Joshua A. Mize
                                                 Joshua A. Mize, Esq.
                                                 Florida Bar No. 86163
                                                 MIZE LAW, PLLC

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                                  Debra Harris




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